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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

    ROBERT L. WHITTAKER,                                   )
                                                           )
                    Plaintiff,                             )
                                                           )
            v.                                             )           No. 4:21-CV-549 SRW
                                                           )
    JEAN DOE #1, et al.,                                   )
                                                           )
                    Defendants.                            )

                                     MEMORANDUM AND ORDER

         This matter is before the Court upon its own motion. Plaintiff Robert Whittaker’s complaint

for money damages was received by the Court for filing on May 10, 2021. However, plaintiff

neither paid the $402 court filing fee nor filed a motion to proceed in forma pauperis (or without

prepayment of fees or costs), along with a certified copy of his account statement. See 28 U.S.C.

§ 1915(a). As such, the Court will allow plaintiff twenty-one (21) days to either pay the full filing

fee or file his motion to proceed in forma pauperis and account statement. 1 His failure to do so in

a timely manner will result in a dismissal of this action, without prejudice.

         Accordingly,

         IT IS HEREBY ORDERED that the Clerk is directed to mail to plaintiff a copy of the

motion to proceed in forma pauperis form for prisoners.

         IT IS FURTHER ORDERED that plaintiff must either pay the $402 filing fee or submit

a motion to proceed in forma pauperis within twenty-one (21) days of the date of this Order.




1
 The Court notes that plaintiff has accumulated three strikes under 28 U.S.C. § 1915(g), thus unless he was under
imminent danger of serious physical injury at the time of the filing of his complaint, the Court will not allow him to
proceed in forma pauperis in this action. See Whittaker v. St. Louis City Justice Center, No. 4:18-CV-1717 SNLJ
(E.D.Mo); Whittaker v. Unknown Frazier, No. 4:19-CV-2929 SNLJ (E.D.Mo); Whittaker v. Cook II Green, No. 1:19-
CV-211 SRC (E.D.Mo); Whittaker v. Redington, No. 2:20-CV-12 SNLJ (E.D.Mo).
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       IT IS FURTHER ORDERED that if plaintiff files a motion to proceed in forma pauperis,

he must also file a certified copy of his prison account statement for the six-month period preceding

the filing of the complaint.

       IT IS FINALLY ORDERED that if plaintiff fails to comply with this Order, the Court

will dismiss this action without prejudice. If the case is dismissed for non-compliance with this

Order, the dismissal will not count as a “strike” under 28 U.S.C. § 1915(g).

       Dated this 12th day of May, 2021.



                                                  /s/ Stephen R. Welby
                                                  STEPHEN R. WELBY
                                                  UNITED STATES MAGISTRATE JUDGE




                                                 2
